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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF FLORIDA
PANAMA CITY DIVISION

UNITED STATES OF AMERICA

v. | | | INDICTMENT

 

 

 

 

 

 

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EDWARD NEWTON te Fen. 54 RH
‘CHRISTOPHER MAYES. | | Returned in oe court pureuant {@ Rule 68 |
and | kov, (4 Luly
CHRISTIAN PANTAZONIS Date OO sere
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: United States i ah.
THE GRAND JURY CHARGES: ates Magistrate judge
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A. INTRODUCTION

At all times material to this Indictment:

1. On or about October 10, 2018, Hurricane Michael made landfall in
Panama City, Florida, and adjacent areas. Hurricane Michael caused devastating
damage to the homes of individuals living in and around the Panama City area, In
the weeks following Hurricane Michael, numerous construction contractors came
to the Panama City area offering repair, roofing, and reconstruction services.

2. Between on or about April 1, 2018, and on or about June 30, 2019,
EDWARD NEWTON owned and operated Newton Remodeling, Inc. (Newton
Remodeling”) and Statewide Marketing, LLC (“Statewide Marketing”). Both .
businesses conducted business in the State of Florida. Newton Remodeling

operated as a construction contracting business. Statewide Marketing acquired

 
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construction contracts on behalf of Newton Remodeling. Advertisements for .
Newton Remodeling stated that it was “powered by” Statewide Marketing.

| 3. On or about October 30, 2018, Newton Remodeling registered with
the Builder Services Division in Panama City and Bay County, Florida, in order to
conduct business in Panama City and the Bay County, Florida area.

| 4, Newton Remodeling maintained an account at. Regions Bank with an
account number ending in 7183, with an address of 17265 Raintree Rd., Lutz,
Florida. Statewide Marketing maintained a separate bank account at Regions Bank
with an account number ending in 6103, with an address of 12897 62"4 Street,
Largo, Florida. Statewide Marketing maintained a bank account at Suncoast Bank
with an account number ending in 4923. EDWARD NEWTON was a signatory
on all of the bank accounts.

5. By in or about November 2018, Newton Remodeling and Statewide

Marketing began doing business in the Panama City, Florida area. Statewide
Marketing employed CHRISTOPHER MAYES, CHRISTIAN PANTAZONIS,

and J.L. to acquire construction contracts for Newton Remodeling.
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B. THE CHARGE
Between on or about December 1, 2018, and on or about Tune 30, 2019, in the
Northern District of Florida and elsewhere, the defendants,
-EDWARD NEWTON,
CHRISTOPHER MAYES,
. and
CHRISTIAN PANTAZONIS,
did knowingly and willfully combine, conspire, confederate, and agree together
and with other persons to devise, and intend to devise, a scheme to defraud and for
obtaining money and property by means of materially false and fraudulent
pretenses, representations, and promises, and to cause wire communications to be
transmitted in interstate commerce for the purpose of executing such scheme, in -
violation of Title 18, United States Code, Section 1343.
C. MANNER AND MEANS
The manner and means by which this conspiracy was committed included
the following:
1, Between on or about December 1, 2018, and on or about June 30,
- 2019, within the Northern District of Florida and elsewhere, CHRISTOPHER

MAYES, CHRISTIAN PANTAZONIS, and J.L., while working for Statewide ©

Marketing, traveled door-to-door to solicit owners of damaged residences
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(“homeowners”) to hire Newton Remodeling to perform repair and construction
Services.

2. CHRISTOPHER MAYES, CHRISTIAN PANTAZONIS, and J.L.
presented “Installment Agreement and Details” contracts to the homeowners |
falsely representing the work to be performed by Newton Remodeling, which often
included roof replacement and major interior repair, and the price the homeowner
was required to pay for completion of the work.

3. CHRISTOPHER MAYES, CHRISTIAN PANTAZONIS, and J.L.
fraudulently induced homeowners to make partial down payments in order to
secure the immediate repair and construction services they falsely represented
Newton Remodeling would complete. They falsely represented that the down
payments were necessary to secure building materials, building permits, or place
the homeowner at the front of the line for repair and construction services. As a
result of these material false representations, the homeowners were induced to
make thousands of dollars in down payments to Statewide Marketing and Newton
Remodeling for repair and construction services that were never completed.

4. The down payments and other funds acquired from the homeowners
as a result of these false representations made by CHRISTOPHER MAYES,

CHRISTIAN PANTAZONIS, and J.L., were deposited into the bank accounts
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located at Regions Bank and Suncoast Bank that were controlled by EDWARD
NEWTON.

5, After a homeowner signed a contract and money was secured from the
homeowner, EDWARD NEWTON met each homeowner in person or spoke to
the homeowner by telephone. NEWTON, CHRISTOPHER MAYES,
CHRISTIAN PANTAZONIS, and J.L, falsely represented to the homeowners
that Newton Remodeling was qualified to do the repairs and reconstruction on their
respective homes. They also falsely represented to the homeowners that work
~ would begin immediately. To fraudulently induce homeowners to pay additional
money for repairs, and to cause them to believe work on their homes was
beginning and would continue, the defendants sometimes sent workers to complete
small projects such as removing damaged drywall or replacing shingles. Asa
result of this fraudulent inducement, homeowners paid additional money to secure
continued work on their homes. In truth and fact, as the defendants well knew,
work was not being performed as promised and no repair and construction projects
were being compieted. |

6.  Astime passed and homeowners began to complain that little or no
work was performed as represented in. exchange for money paid, EDWARD
NEWTON falsely represented to homeowners in writing or by telephone that he

would return the money he collected for the work never performed. Instead, on or
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about May 25, 2019, NEWTON sent each homeowner a letter stating that he did
not intend to complete any of the work he had contracted to perform and did not
return any of the money he collected for the promised repair work.

7. | As a result of the fraudulent representations made by defendants
EDWARD NEWTON, CHRISTOPHER MAYES, and CHRISTIAN -
PANTAZONIS, the defendants obtained and attempted to obtain approximately
$319,000 for their own use and for the use of others not entitled thereto. |

Alt in violation of Title 18, United States Code, Section 1349.

COUNTS TWO THROUGH SIXTEEN
A. INTRODUCTION |

The allegations of Count One are hereby realleged and incorporated by

reference as if fully set forth herein.
B. THE CHARGE
On or about the following dates, in the Northern District of Florida and
| elsewhere, the defendants,
EDWARD NEWTON,
CHRISTOPHER MAYES,
and
CHRISTIAN PANTAZONIS,

for the purpose of executing this scheme to defraud, caused the following wire

communications to be transmitted in interstate commerce:

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COUNT | DATE DESCRIPTION
TWO December 5, 2018 | Deposit of approximately $71,705.36 into
' Suncoast Account ending in 4923.
THREE | December 11, 2018 | Deposit of approximately $2,839.57 into
Suncoast Account ending in 4923.
FOUR December 19, 2018 | Deposit of approximately $16,748.48 into
Regions Bank account ending in 6103.
FIVE January 2,2019 | Deposit of approximately $15,731.43 into
Regions Bank account ending in 6103. _
STIX January 4, 2019. | Deposit of approximately $15,731.43 into
Regions Bank account ending in 6103.
SEVEN January 30,2019 | Deposit of $8,875 into Regions Bank
account ending in 6103. .
EIGHT February 5, 2019 | Deposit of approximately $28,560 into
Regions Bank account ending in 6103.
NINE February 14, 2019 | Deposit of approximately $39,100 into
Regions Bank account ending in 6103.
TEN February 21, 2019 | Deposit of approximately $4,200 into
Regions Bank account ending in 6103.
ELEVEN | February 26,2019 | Credit Card charge of $7,443.650 on
Chase credit card ending in 8000.
TWELVE April 1, 2019 Deposit of approximately $9,183.83 into
Regions Bank account ending in 6103.
THIRTEEN April 10,2019 | Deposit of approximately $13,845.53 into
Regions Bank account ending in 6103.
FOURTEEN | April 17,2019 | Text message sent to J.S. containing an
“Installment Agreement and Details.”
FIFTEEN April 19,2019 | Deposit of approximately $56,835 into
Regions Bank account ending in 6103.
SIXTEEN April 19,2019 | Deposit of approximately $47,000 into

 

 

Regions Bank account ending in 6103.

 

 

In violation of Title 18, United States Code, Sections 1343 and 2. _

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CRIMINAL FORFEITURE
The allegations contained in Counts One through Sixteen of this Indictment
are hereby realleged and incorporated by reference for the purpose of alleging
forfeiture pursuant to Title 18, United States Code, Section 981({a)(1)(C), and Title
28, United States Code, Section 2461(c). |
From their engagement in the violations alleged in Counts One through

Sixteen, the defendants,

EDWARD NEWTON,
CHRISTOPHER MAYES,
and
CHRISTIAN PANTAZONIS,
shall forfeit to the United States, pursuant to Title 18, United States Code, Section
981(a\(1\(C), and Title 28, United States Code, Section 2461(c), any and all of the
defendants’ right, title, and interest in any property, real and personal, that
constitutes or is derived from gross proceeds traceable to the commission of such
offenses.
_ If any of the property described above as being subject to forfeiture, as a
result of acts or omissions of the defendants:
i. cannot be located upon the exercise of due diligence;

‘ii. has been transferred, sold to, or deposited with a third party;

iii, has been placed beyond the jurisdiction of this Court;

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iv. has been substantially diminished in value; or
v. has been commingled with other property that cannot be
subdivided without difficulty,
it is the intent of the United States, pursuant to Title 28, United States Code,
Section 2461(c), and Title 21, United States Code, Section 853(p), to seek

forfeiture of any other property of the defendants up to the value of the forfeitable

property.

A TRUE BILL:

 

1/19) | 2019
DATE [

 

 

 

LAWRENCE KEEFE
United States Attorney

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AINE AHMED
Assistant United States Attorney
